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   INTERNATIONAL MOBILE SUBSCRIBER IDENTITY
      (I M S I) ASSIGNMENT AND MANAGEMENT
            GUIDELINES AND PROCEDURES




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 1.0    PURPOSE AND SCOPE
 This document contains the guidelines and procedures for the assignment and use of
 International Mobile Subscriber Identities (IMSIs) in the United States (U.S.) with consideration
 given to other North American Numbering Plan (NANP) countries. In certain circumstances,
 these guidelines may also apply to Territories of the United States.
 1.1    The IMSI was created and formatted to provide the unique international identification of
        mobile terminals and mobile users and to enable these terminals and users to roam among
        public networks, which offer public mobility services.
 1.2    These assignment guidelines pertain, in one section or another, to all segments of the
        IMSI. The IMSI Administrator (IMSI-A) participates in the management of all segments
        of the IMSI, but directly administers only the Home Network Identity (HNI) segment.
        HNIs are assignable to operators of public networks offering public mobility services
        with international roaming capabilities. The HNI uniquely identifies the home network of
        a public mobility service subscriber and contains the Mobile Country Code (MCC) and
        the Mobile Network Code (MNC). The remaining segment of the IMSI, the Mobile
        Station Identification Number (MSIN), is directly administered by the network operator
        to which the HNI is assigned.
 1.3    These guidelines were developed by the consensus of representatives of entities within
        the telecommunications sector of the United States. This consensus originally was
        achieved during meetings of the IMSI Management Forum (IMF), the open industry
        forum initially chartered to manage and oversee the administration of IMSIs. Since 2001,
        the IMSI Oversight Council (IOC), a committee of the Alliance for Telecommunications
        Industry Solutions (ATIS), is responsible for this oversight.
 1.4    These guidelines apply throughout the United States, excluding those United States
        Territories assigned their own unique MCCs, and do not supersede the regulations,
        procedures or requirements of the FCC or any other appropriate legal or regulatory
        authority.
 1.5    These guidelines are based on the content of International Telecommunications Union –
        Telecommunications’ (ITU-T) Recommendation E.212, The International Identification
        Plan For Public Networks and Subscriptions. This Recommendation was revised in
        2016. The content of this document is in conformance with that iteration of the
        Recommendation.



 2.0    REFERENCES

 2.1    ITU-T Recommendation E.212, The International Identification Plan For Public
        Networks and Subscriptions.




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 3.0    IMSI FORMAT, FUNCTION, AND MANAGEMENT

 3.1    The IMSI format and function are based on ITU-T Recommendation E.212. The addition
        of a definition for an HNI, not contained in the Recommendation, is necessary in a
        country, such as the United States, allocated multiple MCCs by the ITU.
 3.2    Each IMSI uniquely identifies the mobile terminal/user, the home network of the mobile
        terminal/user, and the home country of the network and of the mobile terminal/user.
 3.3    The IMSI enables mobile terminals/users to roam among public networks, domestically
        and internationally, by providing a uniform and unique home network and mobile
        terminal/user identification that is recognizable by all conforming public networks.
        When transmitted between visited and home networks, the IMSI enables the exchange of
        subscription and billing information for the visiting mobile station.
        Specifically, the IMSI is used for:
        •   Determination of the mobile terminal’s/user’s home network,
        •   Mobile terminal/user identification when information about a specific mobile
            terminal/user is to be exchanged between visited and home networks,
        •   Mobile station identification on the radio control path for registering a mobile station
            in a visited wireless network,
        •   Mobile station identification for signaling on the radio control path,
        •   Identification of the mobile terminal/user to allow for charging and billing of visiting
            mobile terminals/users, and
        •   Subscription management, i.e., retrieving, providing, changing, and updating
            subscription data for a specific mobile terminal/user.
 3.4    The format of the IMSI in the United States is:




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 3.5    The IMSI format in the United States is a fixed 15-digit length -- the maximum allowable
        by ITU-T Recommendation E.212. Each IMSI contains an MCC, an MNC, and an
        MSIN. The MCC and MNC combine to form the US-defined HNI, which is the segment
        of the IMSI directly administered by the IMSI-A. MSINs are administered directly by the
        network operator to which the HNI is assigned.
 3.6    The function of the MCC is to identify the domiciliary country of a mobile terminal/user.
        By analyzing the MCC, a visited network can determine the country from which the
        mobile terminal/user originated and in which its home network resides.
        According to ITU-T Recommendation E.212, an MCC is three digits in length and is in
        the format NXX, where N equals any of the decimal digits 2-9, and X equals any of the
        decimal digits 0-9. MCCs are assigned by the ITU-T in response to formal requests from
        recognized national administrations of ITU-T-member countries -- in the United States,
        the Department of State. The seven MCCs currently assigned to the United States, not
        including its Territories, are “310” through “316.”
 3.7    The function of the MNC is to identify the home network, within the country associated
        with the MCC, of the visiting mobile terminal/user. The visited network uses the MCC-
        MNC combination to identify and query the home network of the visiting mobile
        terminal/user that is requesting service.
        MNCs in the United States are three digits in length and in the format XXX, where X
        equals any of the decimal digits 0-9. The 3-digit maximum is necessary so that, when
        combined with the 3-digit MCC, the visited network need not analyze more than 6 digits
        to determine the home network of the visiting mobile terminal/user, another ITU-T
        Recommendation E.212 requirement. This format provides a mathematical potential of
        one thousand MNCs (000-999) for each MCC. Consequently, a mathematical potential
        of seven thousand public networks can be served by the seven MCCs allocated to the
        United States.
 3.8    The function of the MSIN is to uniquely identify a mobile terminal/user within its home
        network.
        MSINs in the United States are nine digits in length and in the format XXXXXXXXX,
        where X equals any of the decimal digits 0-9. ITU-T Recommendation E.212 limits
        IMSI length to a fifteen-digit maximum. Since the United States’ IMSI format includes a
        six-digit HNI, a nine-digit MSIN is the maximum allowable. The nine-digit format
        provides one billion MSINs per MNC or network, if no other function than mobile
        terminal/user identification is embedded in the MSIN.
 3.9    The HNI contains the MCC followed by the MNC and is a fixed 6-digit length in the
        United States. The HNI is required in a country with multiple allocated MCCs because
        analysis of both the MCC and the MNC is required to uniquely identify the home
        network since MNCs will be duplicated within the multiple MCCs allocated to the
        country. The HNI is not specified in ITU-T Recommendation E.212. It has been created
        and defined in the United States to address the lack of MNC uniqueness inherent in a
        multiple MCC environment.



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 3.10   Test HNIs are available for use by the industry. The test HNIs are intended for use by
        industry entities to perform internal testing. These HNIs do not identify any particular
        network. Test HNIs are not for exclusive use by any industry entity and it should be
        expected that the same HNIs may be in use by other entities simultaneously.
 3.11   All current HNI assignments (including test HNIs) are available at the IMSI-A web site
        www.imsiadmin.com.
 3.12   The IMSI Oversight Council (IOC), a committee of the Alliance for Telecommunications
        Industry Solutions (ATIS), manages the IMSI resource in the United States and oversees
        the performance of the IMSI-A. The management of the resources includes such
        functions as Assignment Guidelines maintenance, ensuring the adequacy of the resource
        inventory, and ensuring the appropriate function and use of the resource. Annex B of
        these Guidelines contains the IOC Operating Procedures. This Annex is an integral part
        of these Guidelines.


 4.0    ASSUMPTIONS AND CONSTRAINTS

 These guidelines are based on the following assumptions and constraints:
 4.1    These guidelines and procedures should provide the greatest latitude to those providing
        public mobility services, while permitting the effective and efficient management of a
        finite resource.
 4.2    Although the quantity of IMSIs available within the seven MCCs currently allocated to
        the United States is substantial, the demand for HNIs may, at some time in the future,
        exceed the capacity of the seven MCCs initially assigned to the United States. Planning
        for MCC exhaust and obtaining additional MCC resources are discussed in Section 11.
 4.3    The guidelines and procedures for IMSI assignment in the United States, as set forth in
        this document, remain in effect until there is either industry consensus or regulatory
        policy direction to change them.
 4.4    These guidelines do not describe the method by which IMSIs are transmitted across and
        processed by public networks. Network interworking arrangements are contained in other
        standards, documents, or business agreements.
 4.5    There are authorized HNI application and maintenance fees. Each application must have
        an accompanying HNI application fee payment or the application will be returned. The
        HNI application fee funds the IMSI Administration function. Additionally, each HNI
        assignee will be separately assessed an annual HNI maintenance fee. The maintenance
        fees will be invoiced on a calendar year basis (January 1st – December 31st). Any
        proposed changes to the application or maintenance fees should be submitted to the IOC
        at least 30 days in advance of the requested approval date.




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 5.0    ASSIGNMENT PRINCIPLES

 The assignment principles defined below allow public network operators the greatest possible
 latitude in providing public mobility service and the users of these services the widest possible
 roaming capabilities.
 5.1    HNIs are to be assigned and used only by public networks offering public mobility
        services (Section 1.2).
 5.2    Upon application, the IMSI-A will assign one HNI for each valid network operator.
        Nothing shall preclude a network operator, however, from aggregating multiple or
        merged networks/licenses within a single HNI.
 5.3    The 6-digit HNI, as part of the 15-digit IMSI, is to be assigned so as to uniquely identify
        the home network of the terminal/user.
 5.4    MSINs are assigned by network operators to their subscribed mobile terminals/users. An
        IMSI is unique to a single mobile terminal/user, but a mobile terminal/user may have
        multiple IMSIs.
 5.5    IMSIs and HNIs shall be assigned to permit the most effective and efficient use of a finite
        resource in order to maximize the existing allocated resource inventory and to defer, as
        long as practical, the need to request additional MCC resources.
 5.6    IMSIs are a public resource. The assignment of any portion of an IMSI (i.e., HNI,
        MSIN) does not imply ownership of the resource by either the entity to which it is
        assigned or by the entity performing the administrative function.
 5.7    Should an assignee transfer control of the CMRS license or a portion of its serving area
        under an existing license, then the use of the assigned HNI is transferable to the new
        license owner.
 5.8    The IMSI-A will:
        •   Assign HNIs in a fair, timely, and impartial manner to any applicant that meets the
            criteria for assignment (Section 6).
        •   Assign HNIs on a first come, first served basis from the available pool of unassigned
            HNIs.
        •   Make all assignments based on the procedures in these guidelines (Section 8).
        •   Treat sensitive information received from applicants as proprietary and confidential,
            and not to be shared with those outside the IOC and IMSI-A.
 5.9    Information that is requested of applicants in support of an HNI application shall be
        uniform and kept to a minimum.




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  5.10   Assigned HNIs should be deployed as soon as possible, but no later than twelve months
         after assignment. If the assignee can demonstrate that an assigned HNI has not been
         deployed solely due to delays beyond its control, the time period can be extended for up
         to 90 days. At the discretion of the IMSI-A, one additional 90-day extension may be
         granted without the approval of the IOC.
  5.11   An entity that is denied an HNI assignment or extension under these guidelines has the
         right to appeal that decision (Section 12).
  5.12   These guidelines have no effect on HNI assignments made prior to the guidelines’
         approval. Use of all assigned resources shall be consistent with these guidelines.
  5.13   A working HNI returned to the IMSI-A for reassignment will remain dormant for a
         period of not less than 180 days from the date of return to the HNI pool before
         reassignment. An HNI recovered in accordance with reclamation procedures will not be
         reassigned until confirmation is received from the IOC. If an HNI is returned and was
         never working in the current assignee’s network, the HNI is immediately reassignable
         (i.e., no dormancy is required).
  5.14   There is an administrative fee associated with an application for an HNI.
  5.15   As required, applicants for HNIs must comply with all applicable local, state, and federal
         regulations relative to the provisioning of public mobility service.



  6.0    CRITERIA FOR HNI ASSIGNMENT

  The assignment criteria in the following paragraphs should be considered by a potential HNI
  applicant before submitting an HNI application and will be used by the IMSI-A in reviewing and
  processing an HNI application:
  6.1    The HNI applicant must be, and certify that it is, a public network operator (commercial
         or government), or an authorized agent operating on behalf of a public network operator,
         offering mobility services in the United States with a need to roam onto/from commercial
         networks, or that it is a provider of a service profile management system (e.g., Home
         Location Register [HLR], Home Authentication, Authorization, and Accounting [AAA],
         or Home Subscriber System [HSS]) based in the United States for end user devices that
         can access public networks in the United States.
  6.2    The applicant/assignee of an HNI must have and provide evidence of authorization, if
         required, from the appropriate federal, state or local regulatory authorities to operate in
         the area in which it intends to provide mobility services.
  6.3    Applicants offering commercial services must offer non-discriminatory access of this
         resource to users. That is, such applicants must offer the availability of services to any
         end-user customer requesting the service.




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  6.4       The applicant must certify that the HNI will be used for mobile applications. That is, the
            applicant must certify that the service provided will have at least two of the following
            characteristics:
            •    Access to a service profile 1 management system – Service profile management is the
                 ability to access and manipulate a service profile. The user, the subscriber or the
                 provider can perform service profile management.
            •    Terminal Mobility – The ability of a terminal to access telecommunication services
                 from different locations and while in motion, and the capability of the network to
                 identify and locate that terminal.
            •    Personal Mobility – The ability of a user to access telecommunications services at
                 any terminal on the basis of a personal identifier, and the capability of the network to
                 provide those services according to the user’s profile. Personal mobility involves the
                 network capability to locate the terminal associated with the user for the purpose of
                 routing.


  6.5       At least one radio interface protocol used by the network equipment or end user devices
            of the Applicant must be from the following list of protocols known to require IMSI for
            identification and signaling:
            •    GSM-based protocols including General Packet Radio Service (GPRS), Enhanced
                 Data for GSM Evolution (EDGE), Wideband CDMA (W-CDMA), and High Speed
                 Packet Access (HSPA).
            •    CDMA2000 protocols including CDMA2000 1X (a 3GPP2 cellular technology
                 providing voice and data services) and High Rate Packet Data (HRPD [EVDO]).
            •    Long Term Evolution (LTE) protocols including LTE Advanced.


  6.6       An HNI will only be assigned by the IMSI-A upon receipt and approval of a completed
            Form A – Home Network Identity (HNI) Application. The payment of the application fee
            must accompany the application or the application will be returned. An application for
            additional HNI assignments will only be processed if the annual maintenance fees of the
            applicant/assignee are paid to date (see the IOC Operating Procedures, Annex B, Section
            B-5 for further detail concerning fees).




  1
      Service profile—a record containing all the information related to a user in order to provide that user with service
      (i.e., a database).


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  7.0        RESPONSIBILITIES OF HNI APPLICANTS AND ASSIGNEES

  Entities requesting HNI assignments and entities already assigned one or more HNIs shall
  comply with the following:
  7.1        HNI applicants and assignees must meet all conditions specified in these guidelines.
             Official copies of the guidelines may be obtained from the ATIS IOC web site. 2
  7.2        Applicants must apply in writing to the IMSI-A by completing Form A - Home Network
             Identity (HNI) Application. Copies of all required forms are included in Annex C of
             these guidelines.
  7.3        HNI assignees shall:
             7.3.1   Assign and efficiently manage the MSINs (last nine digits of the IMSI) associated
                     with the assigned HNI. Maintain up-to-date and accurate assignment records that
                     match MSINs to mobile terminals/users. These records may be required for audit
                     purposes (Annex A).
             7.3.2   Inform the IMSI-A of changes in the information associated with an HNI
                     assignment by using Form D – Request for Change in Home Network Identity
                     (HNI) Assignment Information. Changes may occur because of the transfer of an
                     HNI, through merger or acquisition, to a different network (Section 5.7). The
                     initial assignee of the HNI involved in a transfer occurring through merger,
                     acquisition or other means must immediately inform the IMSI-A when such a
                     change becomes effective. Timely submission of change information enables the
                     IMSI-A to maintain accurate HNI assignment records.
             7.3.3   Participate in the IMSI audit process, when requested (Annex A).
             7.3.4   Deploy any HNI, assigned either directly by the IMSI-A or obtained through
                     merger or acquisition, within the time period specified (Section 5.10). Inform the
                     IMSI-A of HNI deployment by submitting Form C – Home Network Identity
                     (HNI) Deployment.
             7.3.5   Apply to the IMSI-A for an extension (Section 5.10) if the deployment
                     requirement cannot be met and the HNI is still required.
             7.3.6   Return to the IMSI-A, using Form F – Home Network Identity (HNI) Assignment
                     Return:
                     •   Any HNI no longer needed for the provision of public mobility services,
                     •   Any HNI not deployed within the time period specified, including extensions
                         (Section 5.10), or



  2
      The ATIS IOC web site is maintained at www.atis.org/ioc.


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                 •   Any HNI not used in conformance with these assignment guidelines,
                     including failure to submit proper application and maintenance fees.


  8.0    RESPONSIBILITIES OF THE IMSI-A

  The role of the IMSI-A is to manage the entire IMSI resource and to directly administer the HNI
  segment of the IMSI. In this context, the IMSI-A shall:
  8.1    Provide to the industry general and specific information on the structure and proper use
         and management of IMSIs.
  8.2    Provide copies of these guidelines and forms to HNI applicants and assignees, and assist
         them in completing the required forms.
  8.3    Review and process HNI applications as follows:
         8.3.1   Review the application to determine if all requested information is provided and
                 credible. If not, return the application to the applicant requesting that any
                 deficiency be corrected.
         8.3.2   Inform applicants of the status of their requests using Form B – Home Network
                 Identity (HNI) Application Disposition. There are three possible dispositions:
                 approved, denied, or additional information required. Notify the applicant in
                 writing of the disposition within ten working days from receipt of Form A. The
                 response will include:
                 •   If assigned, the specific HNI(s) assigned,
                 •   If denied, the reasons for denial and instructions on how and where to appeal
                     the decision, or
                 •   If additional information is required, the specific information required.
  8.4    Use the following HNI assignment procedures:
         8.4.1   The IMSI-A shall generally assign HNIs in numerical sequence by MCC and by
                 MNC within each MCC. The next MCC in numerical sequence should not be
                 used until all MNCs in the preceding MCC have been assigned.
         8.4.2   There may be technical considerations or limitations on the part of the applicant
                 that require a specific assignment or preclude them being able to use the next
                 consecutive MNC assignment. These exceptions are set forth below and in the
                 Addenda (if any) to this document.
                 Accommodation for backward compatibility for existing public networks offering
                 public mobility services only identified by 10-digit mobile identification numbers
                 (MINs): The following HNIs are not available for assignment in order to support
                 inter-networking with wireless network licensees requiring backward



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                 compatibility for existing public networks offering public mobility services only
                 identified by 10-digit MINs:
                                     310–000 through 310–009
         8.4.3   HNI applicants eligible for multiple MNCs may request that such MNCs be
                 assigned in the next available block of numerically sequential codes (excepting
                 those MNCs reserved or unavailable for assignment, pursuant to Section 8.4.2 or
                 any subsequent addenda to these guidelines). In such cases, a separate Form A
                 should be submitted for each MNC required, along with a cover letter requesting
                 their assignment in a sequential block.
         8.4.4   When reassigning an HNI that has been returned or reclaimed, the IMSI-A will
                 ensure that the HNI has remained dormant for the required period (Section 5.13)
                 and confirm with the IOC that the HNI is no longer in use for reclaimed MNCs
                 (per Section 9.2).
         8.4.5   A returned or reclaimed HNI should be reassigned, following the required
                 dormant period, prior to the assignment of any HNI from an MCC of higher
                 numerical value than the returned or reclaimed HNI.
  8.5    Maintain accurate and current HNI application and assignment records. Update the
         records as required to respond to requests for changes in assignment information reported
         by HNI assignees (Section 7.3.2). Respond to these requests within ten working days
         using Form E – Confirmation of Change of Home Network Identity (HNI) Assignment
         Information.
  8.6    Publish, at least monthly, via the agreed medium, a list of assigned HNIs. The list will
         include the HNI number, the HNI assignee, and the entity contact and number. Track the
         number of IMSIs assigned and the assignment rate and report this data regularly to the
         ATIS IOC.
  8.7    Investigate any HNI that has not been deployed within the required time frame, and issue
         extensions if appropriate (Section 5.10). The IMSI-A will forward a letter to each HNI
         assignee that has not reported the implementation of an assigned HNI(s) in conformance
         with Section 5.10, i.e., at the one-year initial implementation date and at the end of an
         implementation extension(s). The letter will request the implementation status of the
         assigned HNI(s) and state that if implementation confirmation, or an extension request, is
         not received within 30 days, the HNI(s) is subject to reclamation/reassignment. Notify the
         IOC if an assignee fails to deploy an assigned HNI within the allotted extension(s).
  8.8    Reclaim assigned HNIs (Section 9), as needed.




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  8.9    At the determination of the IOC, the IMSI-A may be requested to perform assignment
         audits. This requirement is not considered to be the ongoing responsibility of the IMSI-A
         unless agreed to by the IOC. The IMSI-A may recommend to the IOC that a specific
         audit be performed. See Annex A for the future and potential auditing process. This
         Annex is not an integral part of these guidelines. If/when the IOC directs the conduct of
         an audit, a method of remuneration for the IMSI-A’s time and effort will be jointly
         determined by the IOC and the IMSI-A.
  8.10   Inform the United States telecommunications industry, via the agreed method, of any
         revisions to these guidelines (Section 11).


  9.0    HNI RETURN AND RECLAMATION PROCEDURES

  9.1    Assignee responsibilities:
         •   Assignees will return HNIs that are no longer required, not deployed, or not used in
             conformance with these assignment guidelines (Sections 5.10, 7.3.5 - 7.3.6).
         •   Assignees will cooperate with the IMSI-A in carrying out its reclamation and auditing
             responsibilities.
  9.2    IMSI-A responsibilities:
         •   The IMSI-A will contact any HNI assignee identified as not having returned to the
             IMSI-A, for reassignment, any HNI no longer required, not deployed, or not used in
             conformance with these assignment guidelines (Sections 5.10, 7.3.5 - 7.3.6),
             including non-payment of the annual HNI maintenance fee(s).
         •   The IMSI-A will first seek clarification from the assignee regarding any alleged non-
             use or misuse. If the assignee provides an explanation satisfactory to the IMSI-A, and
             in conformance with these assignment guidelines, the HNI will remain assigned. If
             no satisfactory explanation is provided, the IMSI-A will request a letter from the
             assignee returning the assigned HNI for reassignment. If a direct contact cannot be
             made with the assignee to affect the above process, the IMSI-A will look up the
             license associated with the IMSI and attempt to contact the current licensee. If that
             contact does not resolve the non-conformance, a registered letter will be sent to the
             assignee address of record requesting that they contact the IMSI-A within thirty days
             regarding the alleged HNI non-use or misuse.
         •   If the letter is returned as non-delivered or the assignee refuses to return the MNC or
             to comply with the guidelines, the IMSI-A will advise the IOC. Per Section 9.3, the
             IOC will direct the IMSI-A as to whether the HNI will be reclaimed and made
             available for reassignment following the required dormant period (Section 5.13).




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  9.3    If the IMSI-A refers to the IOC an unresolved HNI assignment as described in Section
         9.2, the IOC will:
         •   Accept all referrals of alleged non-use or misuse of HNIs from the IMSI-A or any
             other entity,
         •   Investigate the referral,
         •   Review referrals in the context of these assignment guidelines,
         •   Attempt to resolve the referral, and
         •   Direct the IMSI-A regarding the action, if any, to be taken (If the action to be taken is
             not in conformance with the existing guidelines, the IOC will initiate the guidelines
             revision process [Section 11]), or
         •   Refer the case to the appropriate regulatory body for resolution if the IOC cannot
             reach consensus on a resolution, or
         •   Refer the case to the appropriate regulatory body if the HNI assignee will not comply
             with the consensus resolution developed by the IOC.


  10.0 MCC RELIEF PLANNING

  10.1   When all the HNIs in all but two of the MCCs assigned to the United States have been
         assigned, or assignments are exceeding 10% of the resource per quarter, the IMSI-A will
         inform the IOC.
  10.2   When the IMSI-A informs the IOC that the MCCs assigned to the United States are
         approaching exhaust, the IOC will:
         •   Conduct an audit of current IMSI assignments to ensure that efficient IMSI utilization
             is in effect, and, if not,
         •   Recommend additional procedures to be initiated to effect more efficient IMSI
             utilization, or if efficient utilization is in effect,
         •   Provide the requisite data to the United States Department of State and request that it
             obtain additional MCC resources from the ITU-T, if required.
         Using data provided by the IOC, the United States Department of State will request
         additional MCC resources for the United States from the ITU-T and will inform IOC of
         the result. Currently, MCCs 317-329 are not allocated. Should additional MCCs be
         required by the United States, MCCs in this list of unallocated MCCs could be requested
         in order to continue with consecutive MCC allocations.




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  11.0 MAINTENANCE OF GUIDELINES

  It may be necessary to modify the guidelines periodically to meet changing and unforeseen
  circumstances. The need for guidelines modification may be identified by the IMSI-A, any
  entity in the telecommunications sector or the IOC. When a need for modification is identified
  by an entity other than the IOC, the identifying entity will submit the modification issue to the
  IOC. The IOC will coordinate the modification process. Questions or concerns regarding the
  maintenance of the guidelines may be directed to the IMSI-A or IOC.


  12.0 APPEALS PROCESS

  Disagreements may arise between the IMSI-A and HNI applicants or assignees in the context of
  the administration and management of HNIs and the application of these guidelines. In all cases,
  the IMSI-A and HNI applicants/assignees will make reasonable, good faith efforts to resolve
  such disagreements among themselves, consistent with the guidelines, prior to pursuing any
  appeal. Appeals may include, but are not limited to, one or more of the following options:
  •   HNI applicant/assignee will have the opportunity to resubmit the matter to the IMSI-A for
      reconsideration with or without additional input.
  •   Guidelines interpretation/clarification questions may be referred to IOC for resolution.
      Unless otherwise mutually agreed to by the parties, these questions will be submitted in a
      generic manner protecting the identity of the appellant.
  •   The applicant/assignee may         pursue    the   disagreement    with    the   appropriate
      governmental/regulatory body.
  Reports on any resolution resulting from the above options, the content of which will be
  mutually agreed upon by the involved parties, will be kept on file by the IMSI-A and IOC. At
  minimum, the report will contain the final disposition of the appeal; e.g., whether or not an HNI
  was assigned.




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  13.0 GLOSSARY

  Conservation – Consideration given to the efficient and effective use of a finite resource in order
  to minimize the cost and need to expand its availability while at the same time allowing the
  maximum flexibility in the introduction of new services, capabilities and features.
  Home Authentication, Authorization, and Accounting (AAA) – A server(s) in the home network
  of the HNI assignee that provides authentication, authorization, and accounting service profile
  management functions.
  Home Location Register (HLR) – The HLR is a central database that contains details of each
  mobile device subscriber that is authorized to use the core network; the HLR stores details of
  every SIM card issued by the network operator.
  Home Network Identifier (HNI) – The HNI is the aggregate of the MCC and MNC and is
  uniquely required in countries with more than a single MCC. The existence of multiple MCCs in
  a country necessitates that both the MCC and MNC must be analyzed to determine the home
  network of a roaming terminal/user, hence the need for HNI functionality. The HNI is the
  resource for which these Assignment Guidelines and Procedures were developed and which the
  IMSI-A administers.
  HNI assignee – The entity to which an HNI has been assigned for the provision of public
  mobility services. This enables international roaming capability.
  Home network – The network to which a given mobile terminal/user is subscribed.
  Home Subscriber System (HSS) – The HSS is a system that provides subscriber identification and
  authorization service profile management functions.
  International Mobile Subscriber Identity (IMSI) – The IMSI is a string of decimal digits, up to a
  maximum length of 15 digits, which identifies a unique subscription. The IMSI consists of three
  fields: the mobile country code (MCC), the mobile network code (MNC), and the mobile
  subscription identification number (MSIN).
  International Roaming Capability – The ability of a mobile terminal/user to originate and receive
  calls and other telecommunications services while outside their home country.
  Mobile Country Code (MCC) – The first field of the IMSI that is 3 digits in length. An MCC
  either identifies a country or a group of Networks that share an MCC for international services.
  Mobile Network Code – The second field of the IMSI that is 2 or 3 digits in length. The MNC, in
  combination with the MCC, uniquely identifies the home network of the mobile terminal or
  mobile user. In the U.S., the combination of the MCC and MNC is the HNI.
  Mobile Subscriber – An entity or person that contracts to receive or pay for a public mobility
  service.




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  Mobile Subscriber Identification Number (MSIN) – The third field of the IMSI that is a
  maximum of 9 digits. The MSIN within a given MCC+MNC (HNI) identifies a unique mobile
  terminal or mobile subscriber within a public network.
  Mobile Terminal – Any portable, transportable, or handheld terminal supporting public mobility
  service.
  Mobile User – A user that utilizes a subscription to access a public mobility service.
  Network Operator – The entity responsible for the maintenance and operation of a public
  telecommunications network which supports public mobility services.
  Public Mobility Service – A public telecommunications service that supports voice and/or data
  mobility for terminals or users by providing access to and from the public network via a home
  network and/or visited network(s).
  Public Network – A wireless network that offers service to the general public or that is operated
  in the public interest.

  Visited Network – The network providing service to a subscriber when the subscriber roams
  outside the home network.




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    ANNEX A -- IMSI RESOURCE CONSERVATION AND
                 ASSIGNMENT AUDITS
  A-1    At the determination of the ATIS IMSI Oversight Council (IOC), the IMSI Administrator
         (IMSI-A) may be requested to perform assignment audits. This requirement is not
         considered to be the ongoing responsibility of the IMSI-A unless agreed to by the IOC.
         The IMSI-A may recommend to the IOC that a specific audit be performed.
  A-2    Assignment and management of United States’ IMSI resources are undertaken with the
         following conservation objectives:
         •   To efficiently and effectively administer/manage a limited resource through code
             conservation, and
         •   To eliminate or delay the exhaust potential for the MCCs currently assigned to the
             United States.
         The process to achieve these objectives should not impede the introduction of
         competitive services utilizing IMSI station identifiers.
  A-3    The ITU-T will certainly require a compelling reason for the allocation of more than 7
         billion MSINs and 7000 HNIs -- the number in the United States inventory based on the
         format described above -- to one country. To promote the efficient and effective use of
         numbering resources, audits of HNI assignments may be performed to ensure consistent
         compliance with these guidelines.
  A-4    The IMSI-A will track and monitor IMSI assignments and assignment procedures to
         ensure that all segments of the IMSIs are being used in an efficient and effective manner.
         Ongoing administrative procedures that foster conservation shall include, but not be
         limited to, the following:
         •   An active reclamation program to reclaim unused or misused HNIs,
         •   Strict conformance with these guidelines by those assigning HNIs and MSINs,
         •   Appropriate and timely modifications to these guidelines to enhance text that may
             have allowed inefficient use of IMSIs and HNIs, and
         •   Periodic specific and random audits of assignments and assignment procedures.
  A-5    The IMSI-A may conduct an audit of an HNI assignee’s assignment records. The audit
         may be precipitated by a complaint from outside the IMSI-A’s organization or by the
         IMSI-A. The purpose of an audit will be to verify the HNI assignee's compliance with the
         provisions set forth in these guidelines.
         A-5.1 These audits will be conducted at the HNI assignee's premises or at a mutually
               agreed to location and at a mutually agreed to time.


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         A-5.2 The IMSI-A will not copy or remove the information from the premises nor will it
               disclose the information to those outside the IOC and IMSI-A.
         A-5.3 The IMSI-A will expect to review the following information to ensure
               conformance with these guidelines and the proper use of the IMSI resource:
                •   Verification that not more than one HNI is assigned per network or wireless
                    license,
                •   Verification of assignment for each working MSIN,
                •   Date of assignment of each working MSIN,
                •   Activation date of each working MSIN,
                •   Indication of MSIN assignment to end users, and
                •   Status and status date of each MSIN unavailable for assignment; i.e., MSINs
                    assigned for testing, reserved, aging, pending and/or, suspended.
  A-6    Audit results should be used to identify and recommend to the appropriate industry forum
         specific corrective actions that may be necessary. Examples of specific corrective actions
         which may be proposed are as follows:
         •   Modifications to these assignment guidelines to reflect the specific circumstance
             revealed by the audit,
         •   Additional training for HNI assignees concerning the assignment guidelines,
         •   Return of assigned HNIs,
         •   Requirements for supporting documentation of future HNI requests in non-compliant
             situations, or
         •   Modifications to the process in which records are maintained or HNIs are assigned.
  A-7    Audit results with respect to HNI assignee information and/or recommended HNI
         assignee process modifications shall be treated on a proprietary and confidential basis.
  A-8    Failure to participate/cooperate in an audit shall result in the activation of HNI
         reclamation procedures (Section 9 of the IMSI Assignment and Management Guidelines
         and Procedures).




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  Addendum 1 -- Temporary Accommodation for GSM-Based and ANSI-
                 41 CDMA-Based Wireless Networks

  Currently GSM-based and ANSI-41 CDMA-based wireless public networks can handle only 2-
  digit MNCs. This limitation can be accommodated, until such time as GSM-based and ANSI-41
  CDMA-based wireless public networks are modified to support 3-digit MNCs, through the
  following temporary assignment guideline:

  Until the GSM-based and ANSI-41 CDMA-based industries, via a decision of ATIS IOC,
  indicate full readiness for support of 3-digit MNC:
  •   MNC codes in the format XX0, where X equals any of the decimal digits 0 through 9, are
      reserved for assignment to CMRS license holders choosing to deploy GSM-based or ANSI-
      41 CDMA-based technology. When a licensee meeting this requirement requests a code
      assignment and does not specify a 3-digit MNC, the next such code in numerical sequence
      will be assigned. Such codes from the next consecutive MCC should not be assigned until all
      such codes from the preceding MCC have been assigned.
  •   Notwithstanding the above, any licensee may explicitly request a 3-digit MNC. This can be
      assigned from any unassigned code in any block of 10 consecutive codes from which a 2-
      digit MNC has not already been assigned.
  After the industry, via ATIS IOC, indicates full readiness for support of 3-digit MNC:

  •   2-digit MNC codes will no longer be assigned to GSM-based or ANSI-41 CDMA-based
      wireless public networks. All assignments will be 3-digit MNC codes and can be made from
      blocks containing a previous 2-digit MNC code assignment.




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                                 IMSI Oversight Council




             ANNEX B – IMSI Oversight Council (IOC)
                 OPERATING PROCEDURES




                                         Version 4.01
                                         January 2018




          The Alliance for Telecommunications Industry Solutions
                          IMSI Oversight Council




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  B-1       INTRODUCTION

  During the latter half of 1995, the U.S. wireless telecommunications industry developed
  assignment guidelines for International Mobile Subscriber Identities (IMSI) in the U.S. These
  guidelines were developed in an open industry forum jointly sponsored by the Cellular
  Telecommunications Industry Association (CTIA) and the Personal Communications Industry
  Association (PCIA). 3 The result of this development effort was the consensus-approved
  document titled IMSI Assignment and Management Guidelines and Procedures – to which these
  Operating Procedures are Annexed.

  The IMSI Assignment and Management Guidelines and Procedures call for the formation of an
  “appropriate industry forum” tasked with various responsibilities associated with the
  management of the IMSI resource and oversight of IMSI administration. The forum that was
  formed by industry consensus in 2001 is the IMSI Oversight Council (IOC), a committee of the
  Alliance for Telecommunications Industry Solutions (ATIS). This document defines the
  procedures by which the IOC shall operate, including its scope, mission, responsibilities,
  participants, organization, operational procedures, and interworking.


  B-2       MISSION, SCOPE, AND RESPONSIBILITIES

  The IOC is an open industry forum serving the needs of the telecommunications industry
  regarding the management and administration of IMSIs. It has the following scope and mission.

  B-2.1 Mission
  The IOC is responsible for the management and oversight of the administration of IMSIs in the
  United States.

  B-2.2 Scope
  The IOC will maintain and ensure compliance with the IMSI Assignment and Management
  Guidelines and Procedures document to ensure that it meets the evolving needs of the U.S.
  telecommunications industry, oversee the performance of the IMSI Administrator (IMSI-A), and
  perform the specific responsibilities assigned to it by these Operating Procedures and the IMSI
  Assignment and Management Guidelines and Procedures.




  3
      CTIA is now known as CTIA – The Wireless Association; PCIA is now known as PCIA – The Wireless
      Infrastructure Association.


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  B-3    IOC MEMBERSHIP AND ORGANIZATION

  B-3.1 Membership and Participation
  The IOC is an open industry forum. Any organization, company, or group within the U.S.
  telecommunications industry that is materially affected by the management and administration of
  IMSI resources may become a member of the IOC. Membership in the IOC is not required for
  IMSI assignment or maintenance and non-members may attend meetings and participate or raise
  issues for consideration by the IOC membership. Participants, however, have an obligation to be
  prepared to discuss the issues/appeals, and to cooperate in moving issues/appeals forward
  efficiently. Non-member participants may not participate in consensus decisions or voting
  processes.

         B-3.1.1           Membership
         Membership in the IOC shall be initiated by an organization, company, or group through
         the submission of written correspondence to the IOC Secretariat. This correspondence
         shall include: (1) a statement that the applicant is materially affected by the management
         and administration of IMSI resources in the United States; (2) the organization, company
         or group’s contact information; and (3) the contact information for the organization’s,
         company’s or group’s Voting Participant.

         B-3.1.2           Voting Participants
         Each IOC Member shall identify a Voting Participant as that company/organization’s
         primary contact for the IOC. IOC participants will bear their own time, travel, and living
         expenses. More than one representative or subject matter expert from each Member may
         attend IOC meetings but only the Voting Participant identified to the IOC Secretariat
         prior to the start of an IOC meeting may participate in consensus decisions or voting
         processes.

  B-3.2 IOC Chairperson
  A Chairperson will provide leadership to the IOC. The Chairperson will be a representative of
  the IMSI-A’s organization, which will nominate the person for the consideration of the IOC.
  The IOC will either confirm or deny the nomination. If denied, the IMSI-A’s organization will
  consult further with the IOC membership to identify a mutually acceptable nominee.

         B-3.2.1
         The Chairperson, as a representative of the IMSI-A’s organization will be a non-voting
         member of the IOC and will recuse himself/herself from any deliberations directly
         involving or impacting the IMSI-A, e.g., assignment appeals.

         B-3.2.2
         The Chairperson, as both a representative of the IMSI-A’s organization and the
         Chairperson, can present the IMSI-A’s perspective on issues/appeals before the IOC, but
         must clearly preface such presentations as being those of the IMSI-A and not of the
         Chairperson.


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         B-3.2.3
         The Chairperson will be supported in his/her responsibilities by the IOC Secretariat. The
         responsibilities of the IOC Chairperson include, but are not limited to:
                •   convening, preparing agendas for, and chairing all meetings of the IOC,
                •   conducting IOC meetings in a fair and impartial manner, so that the views of
                    all participants will be heard and discussed, and
                •   determining when consensus is achieved on an issue/appeal under IOC
                    discussion.
  B-3.3 IOC Secretariat
  The Alliance for Telecommunications Industry Solutions will assign a staff member to serve as
  IOC Secretariat and will ensure that the IOC functions effectively. The IOC Secretariat will
  attend all meetings and have primary responsibility for carrying out the directives of the IOC,
  including the day-to-day management of its activities under the direction of the IOC
  Chairperson. The IOC Secretariat will ensure that the IOC abides by these Operating Procedures
  and may facilitate IOC meetings in the absence of the Chairperson.

         B-3.3.1
         The responsibilities of the IOC Secretariat include, but are not limited to:
                •   logistical arrangements for meetings,
                •   recording of participation at IOC meetings, and maintaining the IOC Member
                    and Voting Participant lists,
                •   maintain all IOC records,
                •   maintain and update the IOC web site (on the ATIS host),
                •   bill and collect the annual HNI maintenance fees (see Section 6 of the IMSI
                    Assignment and Management Guidelines and Procedures),
                •   management and tracking of issues/appeals under consideration by the IOC,
                •   preparation and distribution of meeting notes and records in a timely manner,
                •   work closely with the IOC to identify problem areas and develop and
                    implement appropriate action plans to address these concerns,
                •   provide periodic reports on IOC costs to determine appropriate funding for
                    Secretariat support,
                •   represent and speak on behalf of the IOC at both national and international
                    conferences, seminars and meetings as well as before government
                    organizations and agencies at the direction of the IOC, and
                •   support the Chairperson and IOC function, as reasonably required.


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  B-3.4   Joint Responsibilities of the IOC Chair and IOC Secretariat
          B-3.4.1
          The following are joint responsibilities of the IOC Chairperson and the IOC Secretariat:
                 •   attempting to ensure that there is an adequate representation of the various
                     industry perspectives on issues/appeals before the IOC,
                 •   providing technical regulatory support with regard to the issues/appeals before
                     the IOC, and
                 •   ensuring that the appropriate subject matter experts and/or documentation are
                     available at IOC meetings for the proper and complete discussion of meeting
                     agenda items.
  B-3.5 IOC Organization
          B-3.5.1
          The IOC may establish working groups to address and resolve specific issues. Each such
          working group should have one or more elected leaders (co-chairpersons), whose
          responsibility it will be to lead the working group toward the resolution of the assigned
          issue using a consensus process, and to report the working group’s work status and
          conclusions to the IOC.

          B-3.5.2
          The IOC may establish and maintain an advisory group of IOC Members to provide
          advice to the IOC Secretariat regarding the functioning of the IOC. Members of the
          advisory committee shall be selected by the IOC Secretariat in consultation with the IOC
          Chairperson.

  B-4     IOC RESPONSIBILITIES

  B-4.1
  The IOC’s primary responsibilities include, but may not be limited to (not listed in any order of
  priority):
          •   in cooperation with the IMSI-A, educate the telecommunications industry, regulators
              and other interested parties regarding the structure, proper use and management of
              IMSIs through the operation of the IOC web site, the provision of the IMSI
              Assignment and Management Guidelines and Procedures, and through other means,
          •   accept and resolve IMSI-related issues referred to it by an affected
              telecommunications entity or the IMSI-A in a timely and responsible manner through
              the consensus process,
          •   accept and resolve all referred Home Network Identifier (HNI) assignment-related
              appeals in a timely and responsible manner and in accordance with the IMSI
              Assignment and Management Guidelines and Procedures,


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         •   review and resolve all referrals of alleged HNI non-use or alleged misuse, i.e., non-
             conformance with the IMSI Assignment and Management Guidelines and Procedures,
         •   receive proposals for the modification of the IMSI Assignment Guidelines and
             Procedures, determine the appropriateness of the proposed modification and, if
             deemed appropriate, make modifications and publish the resultant new version,
         •   oversee the administration and management of IMSIs, including the IMSI-A, in the
             U.S.,
         •    respond to queries requesting an interpretation of the content of the IMSI Assignment
             and Management Guidelines and Procedures,
         •   determine the amount of the HNI application and maintenance fees to be paid by HNI
             applicants and assignees,
         •   interface with the U.S. Department of State, as appropriate, regarding IMSI
             administration and management (the Department is the governmental entity
             responsible for interfacing with the ITU-T with regard to the assignment of IMSIs in
             the U.S.), and
         •   interface and initiate liaisons with other industry or regulatory bodies affecting the
             management and administration of IMSIs in the U.S., as appropriate.
  B-4.2
  The IOC may, if consensus is reached to do so, undertake additional responsibilities, within the
  bounds of the mission and scope regarding IMSIs, in the interest of the U.S. telecommunications
  industry.

  B-4.3
  The existence of the IOC, including its policies and procedures, does not interfere with the right
  of any telecommunications entity to refer or appeal matters to regulators or appropriate
  government agencies. The IOC does not supersede the authority, rules, or procedures of any
  appropriate U.S.-based telecommunications regulatory entities.

  B-4.4
  The IOC will perform its responsibilities in accordance with the IMSI Assignment and
  Management Guidelines and Procedures and in a consensus-based manner.


  B-5    IOC FUNDING

  B-5.1
  Annual maintenance fees assessed on HNI assignees will fund the functions necessary for the
  IOC to perform its responsibilities, e.g., Secretariat, web site.




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  B-5.2
  The IMSI-A will be funded by HNI application fees and a negotiated portion of the IMSI
  maintenance fees. The application fee will be reviewed annually and modified, by mutual
  negotiation between the IOC and the IMSI-A’s organization, to reflect a cost plus reasonable
  profit algorithm.
  B-5.3
  Maintenance and HNI Application fee modification requests from Secretariat and/or the IMSI-A
  may on occasion be needed and will be reviewed by the IOC and either accepted or denied based
  on consensus as defined in 6.3.3 of the IOC Operating Procedures.


  B-6    IOC OPERATIONAL PROCEDURES

  B-6.1 Issue and Appeal Identification

         B-6.1.1
         Any IOC Member, HNI applicant/assignee, liaisons from external fora, the IMSI-A or the
         IOC Secretariat may introduce issues/appeals to the IOC, either on their own behalf or on
         the expressed behalf of the issue/appeal originator in their absence. Each issue/appeal to
         be addressed by the IOC should be submitted on an IOC Issue/Appeal Identification
         Form (Attachment I). The completed form should contain:
                •   the name of the issue/appeal originator/advocate,
                •   a clear, concise statement of the issue/appeal, and
                •   a proposed resolution, if appropriate.
         B-6.1.2
         Only issues/appeals relating to the content of the IMSI Assignment and Management
         Guidelines and Procedures and/or in conformance with the IOC scope and mission will
         be accepted for resolution by the IOC.

         B-6.1.3
         Completed issue/appeal identification forms should be submitted to the IOC Secretariat at
         any time but no later than two (2) weeks prior to a meeting. The Secretariat will log the
         issue/appeal, post it to the IOC web site, and send an email message to all IOC members
         announcing its posting.

         B-6.1.4
         Completed issue/appeal identification forms received after the two (2) week period,
         including at an IOC meeting, will be handled at the meeting only with the consensus
         concurrence of the IOC Members present at the meeting.




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  B-6.2 IOC Meetings

         B-6.2.1
         Scheduled IOC meetings will occur annually. The consensus of the IOC can modify this
         schedule as appropriate.

         B-6.2.2
         If the IOC Secretariat receives an IOC Issue/Appeal Statement Form two (2) months or
         more prior to the next scheduled meeting, it will confer with the IOC Chairperson to
         determine if the issue/appeal is sufficiently urgent to warrant an Ad Hoc meeting of the
         IOC to discuss and resolve the issue/appeal (most appeals would automatically qualify
         for urgent resolution).

         B-6.2.3
         The IOC Secretariat will make arrangements for all meetings (scheduled or Ad Hoc), and
         will notify the IOC membership list of the meeting logistics by email and by posting the
         meeting notice on the IOC web site at least three (3) weeks prior to the meeting. The pre-
         meeting information should also include any relevant information necessary for the
         participants to be prepared for the meeting, e.g., new issue/appeal statements.
         Notification should also include the meeting agenda.

  B-6.3 Issue and Appeal Resolution
  For each issue/appeal discussed at the meeting, participants will have received, in advance, both
  the Issue/Appeal Identification Form and notice that the issue/appeal is on the meeting agenda
  for discussion. Thus, participants should come to the meeting prepared to state their positions
  and assist the IOC in moving the issues/appeals quickly toward resolution.

         B-6.3.1
         During the meeting, each issue/appeal will be discussed in sequence, as dictated by the
         agenda.     As each issue/appeal is introduced by its originator (or designated
         representative), other participants will have a chance to introduce their related
         contributions.

         B-6.3.2
         For each issue/appeal, after the initial issue/appeal statements and all contributions have
         been introduced, the Chairperson will lead the group towards agreement on a work plan
         to resolve the issue/appeal. To develop the work plan and to resolve the issue/appeal, the
         IOC will use the consensus process developed and refined by the industry over many
         years:
                Consensus is established when substantial agreement has been reached
                among those participating in the issue at hand. Substantial agreement
                means more than a simple majority, but not necessarily unanimous
                agreement.


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                     Consensus requires that all views and objections be considered, and that
                     a concerted effort be made toward their resolution. Under some
                     circumstances, consensus is achieved when the minority no longer
                     wishes to articulate its objection. In other cases, the opinions of the
                     minority should be recorded with the report of the substantial agreement,
                     or consensus, of the majority. 4

            B-6.3.3
            The Chairperson will first attempt to identify all reasonable solutions to the issue/appeal.
            Once all reasonable solutions have been identified, the IOC will work towards consensus
            agreement on the best of the solutions.

            B-6.3.4
            When consensus is reached, new text will be drafted for the IMSI Assignment and
            Management Guidelines and Procedures, if revision of the document is appropriate. This
            new text can be derived from contributions or developed by consensus during an IOC
            meeting.

            When the consensus reached does not require new text, but the consensus is with regard
            to an issue/appeal referred to the IOC, the IOC will inform the issue/appeal originator of
            its conclusion. This information will be sent to the originator in the form of an IOC letter
            jointly signed by the Chairperson.

            B-6.3.5
            All agreements and resolutions regarding issues/appeals referred to the IOC will be
            documented in meeting notes, which will be made available to all IOC participants, and
            will be posted on the IOC web site.

            B-6.3.6
            Once consensus is reached on textual modifications, the revised document will be posted
            on the IOC web site for IOC membership comment. If the received comments are
            editorial in nature, the Secretariat will make the appropriate revisions and forward the
            final document to all IOC participants and to the IMSI-A for industry wide distribution. If
            the comments received by the Secretariat are substantive in nature, the IOC must be
            reconvened in order to resolve the substantive comments. The comment cycle will be 30
            days.




  4
      These paragraphs have been abstracted for the Operating Procedures from ATIS Forums and Committees.


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         B-6.3.7
         In spite of due diligence on the part of the Chairperson and the IOC Membership, there
         may be issues/appeals on which it is not possible to reach consensus. In such cases, the
         IOC Chairperson may refer the issue/appeal, as documented, to the appropriate federal
         agency for consideration, guidance, or resolution.

         B-6.3.8
         To ensure that all Members have had an adequate opportunity to study and comment on
         each issue/appeal, the IOC may not reach resolution on any issue/appeal that is not
         included in the agenda, announced at least two (2) weeks prior to the meeting.

  B-6.4 IOC Meeting Notes

         B-6.4.1
         The IOC Secretariat will record meeting participation and notes.

         B-6.4.2
         Meeting notes will address the items discussed at the meeting, significant points noted
         during discussion, any agreements reached, and action items. The meeting notes, as
         containing the above sections, will be reviewed and approved during the meeting. The
         final meeting notes will be posted to the IOC web site within ten (10) working days of the
         end of the meeting.

         B-6.4.3
         A list of all documents will be posted on the IOC web site and retained by the Secretariat.

  B-7    REVISIONS TO THE OPERATING PROCEDURES

  These Operating Procedures are maintained by the IOC Secretariat. Proposed revisions to these
  Operating Procedures may be submitted in writing by any IOC member to the IOC Secretariat
  along with supporting rational for the proposed change. The IOC Secretariat will present the
  proposed revisions to the IOC membership for review and consideration. Changes to the
  Operating Procedures must be approved by consensus and will be effective upon publication.




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          Attachment 1 -- IOC ISSUE/APPEAL IDENTIFICATION FORM

       (See Section 6.1 of the IOC Operating Procedures for information regarding the completion and
                                          submission of this form)


  1. Issue/Appeal Title:
  ________________________________________________________________________


  2a. Originator:                                         2d. Date Submitted:

  2b. Company:                                            2e. Appeal/Issue Number:

  2c. Phone/Fax:                                          2f. Resolution Date:




  3. Issue/Appeal Statement:




  4. Suggested Resolution:




  5. Issue/Appeal Status (per meeting):




  6. IOC Resolution:




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    ANNEX C--INTERNATIONAL MOBILE SUBSCRIBER
     IDENTITY (IMSI) APPLICATION AND RELATED
                 FORMS PACKAGE




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              INTERNATIONAL MOBILE STATION IDENTITY (IMSI)
                APPLICATION AND RELATED FORMS PACKAGE
  The forms in this package are used for communication between the IMSI administrator and applicants for and
  assignees of these resources. Forms included in this package are:
      Form A –     Home Network Identity (HNI) Application
                   Applicants complete, sign, and return this form to apply for an HNI.
      Form B –     Home Network Identity (HNI) Application Disposition
                   The administrator uses this form to notify the applicant of the outcome of his/her application,
                   which may be a code assignment, denial, or a request for additional clarifying information.
      Form C –     Home Network Identity (HNI) Deployment
                   The recipient of an HNI assignment uses this form to notify the administrator that the assigned
                   code has been deployed.
      Form D –     Request for Change in Home Network Identity (HNI) Assignment Information
                   HNI assignees use this form to notify the administrator of a change in any of the assignment
                   information; for example, a change in the name, address, or phone number of the contact person in
                   the company holding the HNI. As a more complex example, this form should also be used to
                   record the transfer of an HNI to a new company, as might happen as a result of a merger or
                   acquisition.
      Form E –     Confirmation of Change of Home Network Identity (HNI) Assignment Information
                   The administrator uses this form to acknowledge a change initiated by a HNI assignee through
                   submission of Form D.
      Form F –     Home Network Identity (HNI) Assignment Return
                   HNI assignees use this form to return to the pool any HNIs which are no longer required.
  Return completed forms to the:
                                               IMSI Administrator
                                    Telcordia Technologies, Inc., dba iconectiv
                                  100 Somerset Corporate Blvd., Room 6E-603E
                                              Bridgewater, NJ 08807
                           Phone: +1 866-672-6997 Email: IMSIadmin@iconectiv.com




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                                    FORM A – HOME NETWORK IDENTITY (HNI) APPLICATION


  Entity requesting assignment 5: ......................................................................................................................................


  Indicate with an X the type of entity requesting the HNI:

          Public Network Operator (commercial or government, or its authorized agent) offering mobility services in the
          U.S. with a need to roam onto/from commercial networks or,

          Provider of a service profile management system (e.g., HLR, Home AAA) based in the U.S. for end user
          devices that can access public networks in the U.S.

  Indicate the radio interface protocol used by the network equipment or end user devices (may choose more than
  one):

         GPRS
         EDGE
         W-CDMA
         HSPA
         1xRTT
         HRPD/EVDO
         LTE/LTE Advances

  Provide Evidence of authorization, if required, from the appropriate federal, state or local authority:

      *Wireless license number: ........................................................ Date of issuance: ....................................................
       *Either Fax or email a copy of the license to the IMSI-A

         If applicant determines that no authorization is required state reason:

      .....................................................................................................................................................................................

      .....................................................................................................................................................................................

      .....................................................................................................................................................................................


  Is this request associated with a request for multiple mobile network codes (MNCs), per Section 8.4.3?


                □ YES                      □ NO
              If YES, please list the other wireless licenses associated with this request

              .......................................................................................................................................................................

              .......................................................................................................................................................................



  5 This is the name of the entity providing network or service profile management service using the HNI.



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  Do special considerations apply, per section 8.4.2 or an addendum?


          □ YES                       □ NO
          If YES, please specify the special consideration needed

          .......................................................................................................................................................................




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                                    FORM A – HOME NETWORK IDENTITY (HNI) APPLICATION
                                                      (CONTINUED)



  Contact name: .............................................................................................................................................................

  Company: ...................................................................................................................................................................

  Address: ......................................................................................................................................................................

  Room: .........................................................................................................................................................................

  City, State, ZIP: ..........................................................................................................................................................

  Phone: .......................................... Fax: ............................................ E-mail: .......................................................


  Signature below or submission of applications via the IMSI Admin web site indicates that the applicant:
  •     Certifies the accuracy of the information provided in this application,
  •     Commits to deploy any assigned HNI(s) within the time period specified by the assignment guidelines (Section
        5.10),
  •     Certifies that the service to be provided with the HNI is for a public network that need to roam onto/from
        commercial public networks or for a service profile management system based in the U.S. for end user devices
        in the U.S. that can access such public network in the U.S.,
  •     Certifies that any required authorization has been secured from the appropriate federal, state, or local regulatory
        bodies, or that such authorization is not required,
  •     Acknowledges that it must remit an annual maintenance fee per the IMSI Assignment Guidelines and IMSI
        Oversight Council Operating Procedures, and
  •     Understands and agrees that the use of any assigned HNI(s) in a manner other than in conformance with the
        assignment guidelines may result in reclamation of the HNI(s).

  Authorized name: .......................................................................................................................................................

  Authorized signature: .................................................................................................................................................

  Date of application: ....................................................................................................................................................




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                       FORM A – HOME NETWORK IDENTITY (HNI) APPLICATION
                                         (CONTINUED)



  There is a non-refundable application fee for each HNI requested. Payment of the ($325 US) non-refundable
  application fee is:


      □ by enclosed check or
      □ by credit card – If this option is selected, the iconectiv TRA Customer Care Center will contact you to
          obtain payment information.




  Return completed application forms to the IMSI Administrator:

                                               IMSI Administrator
                                    Telcordia Technologies, Inc., dba iconectiv
                                  100 Somerset Corporate Blvd., Room 6E-603E
                                              Bridgewater, NJ 08807
                           Phone: +1 866-672-6997 Email: IMSIadmin@iconectiv.com




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                       FORM B – HOME NETWORK IDENTITY (HNI) APPLICATION DISPOSITION


  Your application filed ..................................................... for wireless license # .....................................................

  issued ..................................................... for assignment of an HNI has been reviewed by the administrator. The box

  checked below indicates the action taken:




  □             Your application has been approved. The HNI assigned for your use is:

                .......................................................................................................................................................................

                 The assignment is effective as of: ..............................................................................................................

                 The information recorded for this assignment is shown below. Please notify the administrator immediately
                of any errors in or changes to this information.

                                               (Display computer generated assignment information here.)



   □            Your application has been denied for the following reason(s):

                .......................................................................................................................................................................

                .......................................................................................................................................................................

                .......................................................................................................................................................................

                You are entitled to appeal this denial as specified in Section 13 of the assignment guidelines.



    □           The following additional information is needed to process your application:

                .......................................................................................................................................................................

                .......................................................................................................................................................................


  Authorized name: .......................................................................................................................................................

  Authorized signature: .................................................................................................................................................

  Date: ...........................................................................................................................................................................




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                             FORM C – HOME NETWORK IDENTITY (HNI) DEPLOYMENT FORM


  By submitting this form, I certify that

  HNI: ...........................................................................................................................................................................

  Assigned to: ...............................................................................................................................................................

  Is deployed effective (date): .......................................................................................................................................


  Authorized name: .......................................................................................................................................................

  Authorized signature: .................................................................................................................................................

  Date of this notification: ............................................................................................................................................


  Return completed application forms to the IMSI Administrator:

                                                               IMSI Administrator
                                                    Telcordia Technologies, Inc., dba iconectiv
                                                  100 Somerset Corporate Blvd., Room 6E-603E
                                                              Bridgewater, NJ 08807
                                           Phone: +1 866-672-6997 Email: IMSIadmin@iconectiv.com




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                       FORM D – REQUEST FOR CHANGE IN HOME NETWORK IDENTITY (HNI)
                                        ASSIGNMENT INFORMATION


  Effective (date): ..........................................................................................................................................................

  The assignment information for HNI: ......................................... should be changed. The changes are described
  below:




  Authorized name: .......................................................................................................................................................

  Authorized signature: .................................................................................................................................................

  Date of this notification: ............................................................................................................................................


  Return completed application forms to the IMSI Administrator:

                                                              IMSI Administrator
                                                   Telcordia Technologies, Inc., dba iconectiv
                                                 100 Somerset Corporate Blvd., Room 6E-603E
                                                             Bridgewater, NJ 08807
                                          Phone: +1 866-672-6997 Email: IMSIadmin@iconectiv.com




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                                      FORM E – CONFIRMATION OF CHANGE IN
                              HOME NETWORK IDENTITY (HNI) ASSIGNMENT INFORMATION


  Your       request        dated       ...................................   for   change(s)         to     the      assignment          information           for     HNI

  ...................................has been processed by the administrator and the changes have been made. Please verify the

  revised assignment information below and report any errors or discrepancies to the administrator.


                                            (Display computer generated assignment information here.)



  Authorized name: .......................................................................................................................................................

  Authorized signature: .................................................................................................................................................

  Date of this notification: ............................................................................................................................................

  Report discrepancies to the IMSI Administrator:

                                                             IMSI Administrator
                                                  Telcordia Technologies, Inc., dba iconectiv
                                                100 Somerset Corporate Blvd., Room 6E-603E
                                                            Bridgewater, NJ 08807
                                         Phone: +1 866-672-6997 Email: IMSIadmin@iconectiv.com




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                            FORM F – HOME NETWORK IDENTITY (HNI) ASSIGNMENT RETURN


  HNI: ...........................................................................................................................................................................

  Currently held by: ......................................................................................................................................................

  is no longer required effective (date) .........................................................................................................................

  and may be returned to the pool for assignment to another entity.

  The HNI has _____                        has not _____ been deployed. (Please check one.)


  Authorized name: .......................................................................................................................................................

  Authorized signature: .................................................................................................................................................

  Date of this notification: ............................................................................................................................................


  Return completed forms to the IMSI Administrator:

                                                               IMSI Administrator
                                                    Telcordia Technologies, Inc., dba iconectiv
                                                  100 Somerset Corporate Blvd., Room 6E-603E
                                                              Bridgewater, NJ 08807
                                           Phone: +1 866-672-6997 Email: IMSIadmin@iconectiv.com




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